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BARRON & NEWBURGER, P.C.

Mcnuel H. Newburger*
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*Board Certified in Consu.mer and Commercial
Law by the Texas Board ofLegal Specialization
Licensed in Texas and Colorado

April 18, 2018

Hon. Jefferson Sessions

Attorney General of the United States
U.S. Departrnent of Justice

950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

Re: James Heironimus, on behalf of himself and all others similarly situated 1).
Caz)alry Por‘tfolio Services, LLC, and Rausch, Sturm, Israel, Enerson & Horhik,
LLC,' Case No. 4:17-cv-00121 in the United States District Court for the
Southern District of Texas, Houston Division

Dear General Sessions:
Enclosed please find a CD containing the documents and information required by
28 U.S.C. § 1715. One of the files on the CD contains the names of the class
members Texas class members Will receive 100% of the settlement. In order to
protect the privacy of consumers We have passWord-protected the lile. Please
contact me at the direct dial number above if you Want the passWord. The remaining
files are all a matter of public record, and they are not passWord-protected.
Thank you for your attention to this matter.

Yours truly,

BARRON 85 NEWBURGER, P.C.

l\/lanuel H. Nevvburger

MHN/n

Phorle: (512] 476-9103 | Fax: [512] 279-0310 l 7320 N. MOPaC Expy., Suite 400 |Austin, TX78731 l bIl-laWyCrS.COm

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